Federal Defenders                               One Pierrepont Plaza-16th Floor, Brooklyn, NY 11201
OF NEW YORK, INC.                                             Tel:(718)330-1200 Fax:(hs)855-0760

David Patton                                                          Deirdre D. von Dornum
Executive Director and                                                         Atlomey-in-Charge
Attorneyin-Chief



                                    April 13, 2022
                                                                 Application granted.
                                                                  Roanne L. Mann
                                                                          4//13/22
Honorable Roanne L. Mann
U.S. Magistrate Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

          Re: United States v. Frank James, 22-MJ-429

Dear Judge Mann:

      We write to respectfully request that you appoint Federal Defenders of New
York to represent Frank James, who was charged today by Complaint in 22-MJ-
429. It is our understanding that Mr. James is currently in custody and will be
presented in court tomorrow. Because he has already been charged, and so that we
can invoke his right to counsel, if he so wishes, we ask that you appoint us to
represent him immediately.

                                  Respectfully submitted.
                                        Is/
                                  Deirdre von Dornum, Attorney-in-Charge
                                  Mia Eisner-Grynberg, Assistant Federal Defender
                                  Federal Defenders of New York

 cc:      AUSA Sara Winik
